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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS


SYMBOLOGY INNOVATIONS, LLC                     §
                                               §
       Plaintiff,                              §   CIVIL ACTION NO. 2:17-cv-00023
                                               §
       v.                                      §   JURY TRIAL DEMANDED
                                               §
ERGOTRON, INC.,                                §
d/b/a OMNIMOUNT                                §
                                               §
       Defendant.                              §


                                MOTION FOR DISMISSAL
       Under Federal Rule of Civil Procedure 41(a), Symbology Innovations, LLC (“SI”) moves

to dismiss all claims by and between the parties with prejudice, with each party bears its own

attorneys’ fees and costs.

 Dated: April 7, 2017                          Respectfully Submitted,

                                               /s/ Eugenio J. Torres-Oyola
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are

deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.

Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by email,

on this the 7th day of April, 2017.

                                                 /s/ Eugenio J. Torres-Oyola
                                                 Eugenio J. Torres Oyola




                              CERTIFICATE OF CONFERENCE

       The undersigned certifies that the parties have complied with the meet and confer

requirement in Local Rule CV-7 (h) and that all parties are in agreement to the relief requested in

this unopposed motion.

                                                            /s/Eugenio J. Torres-Oyola
                                                            Eugenio J. Torres-Oyola




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